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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :
                                            :       Case No.: 21-CR-150 (TFH)
JAMES DOUGLAS RAHM, JR.,                    :
                                            :
              Defendant.                    :


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney Douglas Collyer. AUSA Douglas Collyer will be substituting

for AUSA Adam Alexander.



                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            D.C. BAR NO. 415793


                                     By:    _/s/ Douglas G. Collyer_____________
                                                DOUGLAS G. COLLYER
                                                NY Bar No. 519096
                                                Assistant United States Attorney
                                                District of Columbia Detailee
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                               CERTIFICATE OF SERVICE

        On this 14th day of September 2021, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   _/s/ Douglas Collyer__________________
                                                   DOUGLAS COLLYER
                                                   Assistant United States Attorney
